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                     EXHIBIT 7
                  Case 3:18-cv-04865-EMC Document 562-8 Filed 01/12/23 Page 2 of 3




From:                                 Morgan, Christine <CMorgan@ReedSmith.com>
Sent:                                 Monday, January 9, 2023 9:14 AM
To:                                   Lamm, Carolyn
Cc:                                   Havlin, Kim; Pham, Hansel; Kownacki, Nicolle
Subject:                              RE: In re Tesla Inc. Securities Litigation, No. 18-cv-04865-EMC (N.D. Cal.).


Dear Ms. Lamm: There is no need to file a motion to quash because we will not be seeking to enforce the
subpoenas. The witnesses can choose to appear voluntarily, or can choose not to. I trust this resolves the matter. Best
- Chris


Christine M. Morgan
cmorgan@reedsmith.com
+1 415-659-5970

Bio
LinkedIn Profile

Reed Smith LLP
101 Second Street
Suite 1800
San Francisco, CA 94105-3659
T: +1 415 543 8700
F: +1 415 391 8269
reedsmith.com


From: Lamm, Carolyn <clamm@whitecase.com>
Sent: Friday, January 6, 2023 10:00 AM
To: Morgan, Christine <CMorgan@ReedSmith.com>
Cc: Havlin, Kim <kim.havlin@whitecase.com>; Pham, Hansel <hpham@whitecase.com>; Kownacki, Nicolle
<nkownacki@whitecase.com>
Subject: In re Tesla Inc. Securities Litigation, No. 18-cv-04865-EMC (N.D. Cal.).

EXTERNAL E-MAIL - From clamm@whitecase.com

Dear Counsel,

Please see the attached correspondence.

Best regards,
Carolyn


Carolyn B. Lamm | Partner
T 202 626 3605 M 202 570 8906 E clamm@whitecase.com
White & Case LLP | 701 Thirteenth Street, NW | Washington, DC 20005-3807




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